82 F.3d 409
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Richard William BRESEE, Sr., Plaintiff--Appellant,v.Jon GALLEY, Warden, Defendant--Appellee.
    No. 95-7768.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 30, 1996.Decided April 10, 1996.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.   Peter J. Messitte, District Judge.  (CA-95-495-PJM)
      Richard William Bresee, Sr., Appellant Pro Se.  Charles Wellington Thompson, Jr., County Attorney, Linda B. Thall, Senior Assistant County Attorney, David Eugene Stevenson, COUNTY ATTORNEY'S OFFICE, Rockville, Maryland, for Appellee.
      D.Md.
      AFFIRMED.
      Before LUTTIG and MOTZ, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. § 1983 (1988) complaint.   We have reviewed the record and the district court's opinion and find no reversible error.   Accordingly, we affirm on the reasoning of the district court.   Bresee v. Galley, No. CA-95-495-PJM (D.Md. Oct. 13, 1995).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    